           Case 2:12-md-02323-AB Document 9833 Filed 03/28/18 Page 1 of 6



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE
PLAYERS’ CONCUSSION INJURY                        No. 2:18-md-2323-AB
LITIGATION                                        MDL No. 2323

Kevin Turner and Shawn Wooden, on behalf          No. 2:12-md-02323-AB
of themselves and others similarly situated,      MDL No. 2323
                              Plaintiffs,
              v.
                                                  Hon. Anita B. Brody
National Football League and NFL
Properties, LLC, successor-in-interest to NFL
Properties, Inc.,
                             Defendants.

THIS DOCUMENT RELATES TO:
ALL ACTIONS


                                             ORDER

       In relation to the allocation of class benefit fees among counsel representing the class, the

Court will hold a HEARING on May 15, 2018, at 10 a.m. in Courtroom 7B on the 7th Floor of

the U.S. Courthouse, 601 Market St., Philadelphia, PA. All attorneys who were appointed Co-

Lead Class Counsel, Class Counsel, or Subclass Counsel, as set forth in ECF No. 6084, must

appear.1

       On or before May 1, 2018, each law firm seeking payment from the Attorneys’ Fees

Qualified Settlement Fund2 must submit a sworn declaration answering the questions and

attaching the documents set forth below.3


1
  Additional lawyers may be ordered to appear at this hearing, after the Court has reviewed the
declarations and related materials discussed below.
2
 This includes all law firms seeking fees, including all law firms listed in Co-Lead Class
Counsel’s Proposed Allocation of Common Benefit Attorneys’ Fees (ECF No. 8447), and all


                                                     1
        Case 2:12-md-02323-AB Document 9833 Filed 03/28/18 Page 2 of 6



SWORN DECLARATION:

       This declaration must be filed through the Court’s Electronic Filing System in the docket

specifically set aside for these submissions: 18-md-02323-AB.

       In answering questions with subsections you must provide individual answers for each

subsection. The sworn declaration must contain answers to the following questions:

       1. How many Settlement Class Members4 have you, your law firm or5 any attorney

           associated with your law firm:

               A. Previously represented in this litigation and do not currently represent; or

               B. Currently represent in this litigation?

       2. How many Settlement Class Members previously or currently represented by you,

           your law firm or any attorney associated with your law firm:

               A. Have received a Monetary Award;

               B. Have been informed that they are entitled to receive a Monetary Award;

               C. Have applied for a Monetary Award; or




firms seeking fees through the Petitions for Attorneys’ Fees filed by the “Faneca Objectors”
(ECF No. 7070), the “Armstrong Objectors” (ECF No. 7232), the “Jones Objectors” (ECF No.
7364), and the “Alexander Objectors” (ECF No. 8725).
3
 Where the law firm seeking payment from the Attorneys’ Fees Qualified Settlement Fund has
members who were appointed by this Court as Co-Lead Class Counsel, Class Counsel, Subclass
Counsel or were appointed to the Plaintiff’s Executive Committee or Plaintiff’s Steering
Committee, as set forth in ECF No. 6084, the declaration must be signed by every attorney who
was appointed.
4
 Unless otherwise noted, the terms used in this Order that are defined in the Settlement
Agreement have the same meanings in this Order as in the Settlement Agreement.
5
 As used herein, “or”, “and” and “and/or” is to be interpreted inclusively, so that the greatest
amount of responsive information is provided to the Court.


                                                     2
 Case 2:12-md-02323-AB Document 9833 Filed 03/28/18 Page 3 of 6



      D. That you have knowledge that they will be eligible to receive a Monetary

          Award?

3. How many Settlement Class Members previously or currently represented by you,

   your law firm or any attorney associated with your law firm have entered agreements

   to assign their rights to a Monetary Award (“Assignment(s)”)? Assignments include

   any agreements that are similar to the agreements attached to this Court’s Explanation

   and Order relating to the Third Party Funder Litigation (ECF No. 9531).

   Assignments further include, but are not limited to, any agreement with any of the

   following third party litigation funders:

         Atlas Legal Funding, LLC (to include the following related entities: Atlas

          Legal Funding I, L.P., and Atlas Legal Funding II, L.P.)

         Cambridge Capital Group, LLC (to include the following related entities:

          Cambridge Capital Group Equity Option Opportunities L.P., and Cambridge

          Capital Partners, L.P.)

         Cash4Cases, Inc.

         Global Financial Credit, LLC

         HMR Funding, LLC (to include the following related entities: HMRF Fund I,

          LLC and HMRF Fund II, LLC)

         Justice Funds/Justicefunds, LLC

         Ludus Capital, LLC

         Peachtree Funding Northeast, LLC/Settlement Funding, LLC (to include the

          following related entities: Peachtree Settlement Funding, LLC, Peachtree

          Originations, LLC, Peachtree Financial Solutions, LLC, Peach Holdings,



                                               3
 Case 2:12-md-02323-AB Document 9833 Filed 03/28/18 Page 4 of 6



           LLC, PeachHI, LLC, Orchard Acquisition Co. LLC, JGWPT Holdings, LLC,

           JGWPT Holdings, Inc., J.G. Wentworth, LLC, J.G. Wentworth S.S.C. Limited

           Partnership, J.G. Wentworth Structured Settlement Funding II, LLC, and

           Structures Receivables Finance #4, LLC)

          Pravati Legal Funding/Pravati Capital, LLC

          RD Legal Funding, LLC (to include the following related entities: RD Legal

           Finance, LLC, and RD Legal Funding Partners, LP)

          Thrivest Specialty Funding, LLC

          Top Notch Funding/Top Notch Lawsuit Loans/Top Notch Funding II, LLC

          Walker Preston Capital Holdings, LLC

          Case Strategies Group (formerly, NFL Case Consulting, LLC)

          Legacy Pro Sports, LLC

4. Of the total number of Settlement Class Members included in your answer(s) to

   question #2, how many of these Settlement Class Members have also entered into the

   Assignments referenced in question #3?

5. Are you, your law firm or any attorney associated with your law firm obligated to pay

   or forward (directly or indirectly) any portion of a Settlement Class Member’s

   Monetary Award to any third party litigation funder?

6. Explain any other role that you, your law firm, or any attorney associated with your

   law firm may have had in creating, promoting, or facilitating the Assignments

   referenced in question #3 and/or the obligations referenced in question #5.

7. Do you, your law firm, any attorney associated with your law firm or any individual

   or entity related to your law firm have any direct or indirect (professional or personal)



                                             4
         Case 2:12-md-02323-AB Document 9833 Filed 03/28/18 Page 5 of 6



           association with any of the third party litigation funders used by Settlement Class

           Members previously or currently represented by you, your law firm or any attorney

           associated with your law firm? If so, provide details of that association. If any of

           these individuals and/or entities had such an association in the past, provide details of

           that association. If any of these individuals and/or entities anticipates having such an

           association in the future, provide details of that association.

       8. Have any of the Assignments referenced in question #3 been resolved in accordance

           with the rescission process provided for in ECF No. 9517? If so, indicate those that

           have been resolved by their designated letter (See “Documents,” below) and the date

           of the resolution.

DOCUMENTS:

       Counsel must ensure that Settlement Class Members’ identity and personal data are

redacted from these filings. References that would identify a Settlement Class Member must be

redacted, replacing each Settlement Class Member’s name with letters (i.e., A, B, or C … AA or

BB …) so that it will be clear to the Court if there are multiple submissions that relate to a single

Settlement Class Member.

       Attach true and correct copies of the following documents6 to the declaration:

               A. Any Assignments referenced in question #3;

               B. Any collateral documents to the Assignments referenced in subsection (A),

                   including, but not limited to:




6
  All documents referenced below should be complete and contain all appendices, exhibits and/or
attachments. The term “documents” is to be interpreted inclusively, to include all Assignments
referenced in question #3 and other agreements.


                                                      5
Case 2:12-md-02323-AB Document 9833 Filed 03/28/18 Page 6 of 6



            i. Any documents creating, or relating to, any of the obligations

                referenced in question #5;

            ii. Any documents relating to an Assignment referenced in question #3

                where you, your law firm or any attorney associated with your law

                firm is named or is a signatory; and/or

           iii. Any other documents related to an Assignment referenced in question

                #3 that are in your, your law firm, or any attorney associated with your

                law firm’s possession, custody or control.

     C. All versions and drafts of the documents described in subsections (A)-(B) and

        all such documents entered into or proposed, even if such documents have

        been terminated or replaced by subsequent documents.

     D. All written communications regarding any of the documents described in

        subsections (A)-(C) between any third party litigation funder and you, your

        law firm, or any attorney associated with your law firm.



                                             s/Anita B. Brody

                                             ____________________________________

                                             ANITA B. BRODY, J.

                                                                         3/28/2018

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